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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF CONNECTICUT


NICOLE CHASE                                 :     NO.: 3:18-cv-00683 (VLB)
                                             :
v.                                           :
                                             :
NODINE’S SMOKEHOUSE, INC., CALVIN            :
NODINE, TOWN OF CANTON, JOHN                 :
COLANGELO, ADAM GOMPPER, MARK J.             :
PENNEY, AND CHRISTOPHER ARCIERO              :     MAY 1, 2018


                     MOTION FOR SECURITY FOR COSTS

      Pursuant to Local Rule 83.3(a) of the United States District Court for the

District of Connecticut, the defendants, TOWN OF CANTON, JOHN

COLANGELO, ADAM GOMPPER, MARK J. PENNEY and CHRISTOPHER

ARCIERO (“defendants”), respectfully move for an order that the plaintiff,

NICOLE CHASE, give a cash deposit or bond, with sufficient surety, in the

amount of $500.00, within thirty (30) days from entry of such an order.
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                               DEFENDANTS,
                               TOWN OF CANTON, JOHN
                               COLANGELO, ADAM GOMPPER, MARK
                               J. PENNEY AND CHRISTOPHER
                               ARCIERO



                               By /s/ Kristan M. Maccini
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                                 CERTIFICATION

       This is to certify that on MAY 1, 2018, a copy of the foregoing MOTION
FOR SECURITY FOR COSTS was filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF
System.

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                                          /s/ Kristan M. Maccini
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